434 F.2d 597
    Ollie L. FRASIER, Plaintiff-Appellant,v.Elliot L. RICHARDSON, Secretary of Health, Education and Welfare, Defendant-Appellee.
    No. 29836 Summary Calendar.*
    United States Court of Appeals, Fifth Circuit.
    November 9, 1970.
    Rehearing Denied December 17, 1970.
    
      Appeal from the United States District Court for the Northern District of Alabama; Clarence W. Allgood, District Judge, 313 F.Supp. 160.
      Charles Tyler Clark, Birmingham, Ala., Hawkins &amp; Rhea, Gregory S. Cusimano, Gadsden, Ala., for plaintiff-appellant.
      Kathryn H. Baldwin, William D. Appler, Dept. of Justice, Washington, D. C., William D. Ruckelshaus, Asst. Atty. Gen., Wayman G. Sherrer, U. S. Atty., for defendant-appellee.
      Before GEWIN, GOLDBERG, and DYER, Circuit Judges.
      PER CURIAM:
    
    Affirmed. See Local Rule 21.1
    
      
        Notes:
      
      
        *
         Rule 18, 5 Cir.; See Isbell Enterprises, Inc. v. Citizens Casualty Co. of New York et al., 5 Cir., 1970, 431 F.2d 409, Part I. N.L.R.B. v. Amalgamated Clothing Workers of America, 5 Cir. 1970, 430 F.2d 966
      
      
        1
         See N.L.R.B. v. Amalgamated Clothing Workers of America, 5 Cir. 1970, 430 F.2d 966
      
    
    